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                             UNITED STATES DISTRICT COURT

    BRANDON C. LAMBOY,                            *
                                                  *
         Plaintiff,                               *
                                                  *
                 v.                               *      Civil Action No. 1:24-cv-12572-IT
                                                  *
    WELLPATH LLC,                                 *
                                                  *
         Defendant.                               *

                                  MEMORANDUM & ORDER
                                     November 7, 2024

TALWANI, D.J.

        Pending before the court is Plaintiff Brandon Lamboy’s Motion to Remand (“Remand

Motion”) [Doc. No. 9] the present case to the Suffolk County Superior Court. For the reasons set

forth herein, Plaintiff’s Motion to Remand [Doc. No. 9] is DENIED.

        Discussion

        Defendant removed this action from state court asserting diversity jurisdiction. Not. of

Removal [Doc. No. 1]. Diversity jurisdiction requires that the case arise between “citizens of

different States” and have an amount in controversy that exceeds $75,000. 28 U.S.C.

§ 1332(a)(1). Plaintiff argues that no diversity jurisdiction exists because Defendant maintains

ties and business operations in Massachusetts and Plaintiff was a resident of Massachusetts at the

time of the incident at issue in his Complaint. Remand Mot. at 2 [Doc. No. 9]. 1




1
 Plaintiff does not dispute that the amount in controversy threshold has been met and the court
so finds where his complaint seeks more than $75,000 based on claims for wrongful termination
and defamation. See Civ. Cov. Sheet [Doc. No. 1-4]; Compl. at 7 [Doc. No. 1-1].
                                                 1
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       “Once challenged, the party invoking diversity jurisdiction must prove domicile by a

preponderance of the evidence.” Garcia Perez v. Santaella, 364 F.3d 348, 350 (1st Cir. 2004))

(citation omitted).

       With respect to individuals, “[f]or purposes of diversity, a person is a citizen of the state

in which he is domiciled.” Padilla–Mangual v. Pavía Hosp., 516 F.3d 29, 31 (1st Cir. 2008).

“[D]omicile . . . can be established by demonstrating that the individual is physically present in

the state and has an intent to remain indefinitely.” Garcia Perez v. Santaella, 364 F.3d 348, 350

(1st Cir. 2004) (internal citations omitted). In diversity cases, “[d]omicile is determined at the

time the suit is filed.” Hall v. Curran, 599 F.3d 70, 72 (1st Cir. 2010) (per curiam). Here, Plaintiff

asserts in his complaint that he is a resident of Pitt County, Greenville, North Carolina. Compl. at

3-4 [Doc. No. 1-1]. He does not indicate any intention to leave North Carolina. Id. Accordingly,

Plaintiff is a citizen of North Carolina, not Massachusetts.

       Meanwhile, “[l]imited liability companies are unincorporated entities. The citizenship of

an unincorporated entity . . . is determined by the citizenship of all of its members.” Pramco,

LLC ex rel. CFSC Consortium, LLC v. San Juan Bay Marina, Inc., 435 F.3d 51, 54 (1st Cir.

2006) (citing Carden v. Arkoma Assoc., 494 U.S. 185, 195-96 (1990)). “If the members are

themselves unincorporated associations, then those members’ citizenships are relevant too; the

process is ‘iterative,’ and a party must ‘trace the citizenship of any member that is an

unincorporated association through however many layers of members or partners there may be.’”

BRT Mgmt. LLC v. Malden Storage LLC, 68 F.4th 691, 696 (1st Cir. 2023) (quoting D.B. Zwirn

Special Opportunities Fund, L.P. v. Mehrotra, 661 F.3d 124, 126-27 (1st Cir. 2011)). Wellpath

LLC states that it is a Delaware limited liability company wholly owned by Justice Served

Health Holdings, LLC, another Delaware limited liability company. Notice of Removal ¶ 9 [Doc.



                                                  2
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No. 1]. In turn, Justice Served Health Holdings, LLC’s sole member is a corporation, Wellpath

Holdings, Inc. Id.

        A corporation is “considered to be a citizen of its state of incorporation as well as the

state where it has its principal place of business.” Media Duplication Servs., Ltd. v. HDG

Software, Inc., 928 F.2d 1228, 1236 (1st Cir. 1991) (citing 28 U.S.C. § 1332(c)(1)). According to

Wellpath LLC’s Corporate Disclosure Statement [Doc. No. 4], Wellpath Holdings, Inc. is

incorporated in Delaware. 2 Accordingly, for diversity jurisdiction, Wellpath LLC is a citizen of

Delaware.

        Where Plaintiff is domiciled in North Carolina and Defendant is a citizen of Delaware,

the present case arose between “citizens of different States” for the purposes of diversity

jurisdiction.

        Conclusion

        For the foregoing reasons, Plaintiff’s Motion to Remand is DENIED.

        IT IS SO ORDERED.

        November 7, 2024                                      /s/ Indira Talwani
                                                              United States District Judge




2
  A corporation’s principal place of business “should normally be the place where the
corporation maintains its headquarters—provided that the headquarters is the actual center of
direction, control, and coordination. . . .” Hertz Corp. v. Friend, 559 U.S. 77, 93 (2010). Here,
Plaintiff’s Complaint [Doc. No. 1-1] contends that “Wellpath LLC” is headquartered in
Nashville, Tennessee. Compl. at 4. From the parties’ briefing, the court cannot determine
whether Wellpath Holdings, Inc. has its principal place of business in Tennessee (and thus,
whether it is a citizen of Tennessee as well as Delaware). Regardless, neither party contends that
Wellpath Holdings, Inc., has its principal place of business in North Carolina where Plaintiff
resides so the answer to this question would not alter the court’s diversity jurisdiction.
                                                  3
